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        United States District Court, Eastern District of Washington
                             Magistrate Judge John T. Rodgers
                                         Spokane

 USA v. JAYDIN LEDFORD                                    Case No. 2:19-CR-0049-RMP-1

 Defendant’s Motion to Re-open Detention Hearing:                                          04/15/2019

 ☒ Melissa Orosco, Courtroom Deputy                   ☒ Patrick Cashman, US Atty
 ☒ Stephanie Cherney, US Probation / Pretrial         ☒ Andrea George, Defense Atty
   Services
 ☒ Defendant present ☒ in custody USM                 ☒ Interpreter NOT REQUIRED


 ☐ Defendant continued detained                       ☒ Conditions of Release imposed
                                                      ☒ 199C Advice of Penalties/Sanctions

                                             REMARKS
         Defendant appeared, in custody, with counsel.
         The Court has reviewed the Motion for Release from Custody (ECF No. 27); Response to Motion
(ECF No. 29); as well as the Pretrial Services Report (ECF No. 5).
         Government proffered their Response to Motion (ECF No. 29) and presented argument that there
are no conditions which justify reconsidering the issues of detention or that there are no conditions which
will reasonably assure Defendant’s appearance as required and/or the safety of any other person and the
community.
         Defense counsel argued why there are conditions which justify reconsidering the issues of
detention and that such conditions will reasonably assure Defendant’s appearance as required.

The Court ordered:
            1. Defendant’s Motion to Re-open Detention is granted.
            2. Conditions of release imposed upon Defendant which were read to him in Court. Order
               forthcoming.

Defendant to be released under the following conditions:

    •    Commit no new violation of state, local or federal law, to include no marijuana
    •    Reside with mother and may not change address without permission of the Court
    •    Appear for all future hearings
    •    Sign 199C
    •    No possession of firearm, dangerous weapon, or other destructive device
    •    Report to Pretrial Services in whatever frequency/manner they direct
    •    Call attorney at least once per week
    •    No use or possession of narcotic drugs or other controlled substances unless have valid
         prescription, to include no marijuana
    •    Surrender passport if have one and may not apply for new one during pendency of case

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•   Remain in Eastern District of Washington while case is pending unless receive permission
    in advance to leave district
•   No contact, direct or indirect, with victims or witnesses in case
•   Participate in mental health counseling and treatment as directed by Pretrial Services
    Officer
•   Comply with taking medications as prescribed
•   Sign release for Pretrial Services to monitor compliance with mental health treatment
•   Electronic Monitoring
•   Home detention from 7 pm to 7 am, daily
•   Submit to random UA testing as directed
•   No access to Internet or devices that access Internet




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